Case 1:20-cv-07565-GBD Document 8

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

EVELINA CALCANO, on behalf of herself and all
other persons similarly situated,

 

ORDER

Plaintiff,
-against- 20 Civ. 7565 (GBD)
AMERICAN RETAIL CORPORATION,

Defendant.

GEORGE B. DANIELS, United States District Judge:

This Court having been advised that the parties have reached a settlement in principle, the
Clerk of the Court is hereby ORDERED to close the above-captioned action, without prejudice to
restoring the action to this Court’s calendar if an application to restore is made within thirty (30)
days of this Order.

The February 24, 2021 conference is canceled.
Dated: New York, New York

January 11, 2021
SO ORDERED.

GEPRG . DANIELS
ted States District Judge

 

 

 
